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                               UNITED STATES DISTRICT COURT                                          JS-6
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES -- GENERAL

Case No.      SA CV 17-427-JFW(JCGx)                                            Date: July 13, 2017

Title:        Dondi Stevens -v- Dess Richardson, Esquire, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER DISMISSING DEFENDANT JOYCE E. DUDLEY
                                         WITHOUT PREJUDICE PURSUANT TO FEDERAL
                                         RULE OF CIVIL PROCEDURE 4(m)

       On June 19, 2017, the Court ordered Plaintiff Dondi Stevens (“Plaintiff”) to show cause, in
writing, no later than June 30, 2017, why the remaining defendant in this action, Joyce E. Dudley,
should not be dismissed pursuant to Federal Rule of Civil Procedure 4(m). The Court expressly
warned Plaintiff that failure to respond to the Order to Show Cause would result in the dismissal of
this action.

      Plaintiff failed to respond to the Order to Show Cause on or before June 30, 2017.
Accordingly, Defendant Joyce E. Dudley is DISMISSED without prejudice pursuant to Federal
Rule of Civil Procedure 4(m).


         IT IS SO ORDERED.




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